Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 1 of 11

CLERK'S OFFICE U.S. DIST. COURT
AT HARRISONBURG, VA
- FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

HARRISONBURG DIVISION
ALLTECH, INC., )
)
Plaintiff, ) Civil Action No. 5:08 CV QO0
)
v. )
)
MYRIAD DEVELOPMENT, INC., ) Jury Demanded
)
Defendant. )
COMPLAINT

Plaintiff ALLTECH, Inc., by its attorneys, Duane Morris LLP, for its complaint against
defendant Myriad Development, Inc. alleges as follows:

NATURE OF THE CASE

1. This is an action for injunctive relief and compensatory damages arising from the
calculated and deliberate breach by defendant Myriad Development, Inc. (“Myriad”) of a
Subcontract Agreement dated May 3, 2007 (the “Subcontract”) pursuant to which Myriad agreed
to provide certain services to assist plaintiff ALLTECH, Inc. (“ALLTECH”) in performing under
an agreement (the “Prime Agreement”) with the Federal Emergency Management Agency
(“FEMA”) relating to emergency inspections of residential housing damaged in natural and other
disasters.

2. On March 28, 2008, at a time when Myriad knew ALLTECH was beginning work
ona disaster that had just occurred in the State of Missouri, Myriad suddenly and without
warning cut off ALLTECH’s access to inspection photographs and the system that collects the
inspection data that ALLTECH is required to provide under the Prime Agreement. Since that

time, ALLTECH has been unable to supply FEMA with inspection photographs stored by

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Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 2 of 11

Myriad which FEMA needs in order to provide relief to disaster victims and which FEMA has a
right to obtain under the Master Agreement.

3. In order to fulfill its obligations under the Master Agreement and ensure that
emergency inspection data could continue to be collected and stored despite Myriad’s breach of
the Subcontract, ALLTECH had to make alternative arrangements for obtaining inspection
photographs and transmitting them to FEMA along with other essential data, and ALLTECH has
incurred substantial expense in doing so for which Myriad should be held liable.

THE PARTIES

4. ALLTECH is a corporation organized and existing under the laws of the State of
Delaware and having its principal place of business at 465 Spring Park Place, Herndon, VA
20170.

5. Upon information and belief, Myriad is a corporation organized and existing
under the laws of the State of Texas and having its principal place of business at 6300 Bridgeport
Parkway, Building 1, Suite 100, Austin, TX 78730.

JURISDICTION AND VENUE

6. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.
§ 1332(a)(2) in that the matter in controversy exceeds $75,000.00, exclusive of the interest and
costs, and is between citizens of different states.

7. Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) because Myriad
resides in this District under 28 U.S.C. § 1391(c) and a substantial part of the acts or omissions
giving rise to the claim occurred in this District where Myriad is subject to personal jurisdiction

and is required to station employees under the terms of the Subcontract.
Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 3 of 11

FACTUAL BACKGROUND

8. ALLTECH is in the business of assembling, training, and deploying teams of
inspectors, field incident managers, and computer operations personnel to provide housing
inspection services on an expedited basis in presidentially-declared disaster areas. ALLTECH
has provided inspection services to FEMA since 1995 and it has continued to be awarded
contracts by FEMA based on its proven ability to respond quickly to FEMA’s requests for
inspection data.

9. ALLTECH?’s inspections are documented by means of handheld computers that
collect data, including photographs, and instantaneously transmit such data electronically to a
central processing center. Before issuing disaster relief checks to homeowners affected by
disasters, FEMA reviews the data ALLTECH provides. Any interruption in the transmission of
inspection data to FEMA can result in a delay in payment to disaster victims. It is therefore
critical that FEMA have prompt and complete access to ALLTECH’s inspection data.

10. The Prime Agreement requires that ALLTECH take photographs of residential
damage and transmit those photographs to FEMA promptly upon request. The Prime Agreement
includes a section entitled Performance Work Statement (the “Work Statement”). Paragraph 9 of
the Work Statement explicitly states that “[t]he Contractor shall perform on-site inspections of
residences and provide FEMA with photographs of the inspected dwellings.”

11. Paragraph 9.4 of the Work Statement further provides that “Inspectors normally
complete inspections by electronic means using the ACE system.” As defined in the Work
Statement, the ACE system is “[t]he field software used to complete inspections” under the

disaster recovery program.

12. In addition, Paragraph 9.14 of the Work Statement provides, in relevant part:

Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 4 of 11

The contractor shall store the photographs for FEMA. The
photographs will be identified by the FEMA registration ID,
archived by the contractor and available electronically 7 days
following the completion of the inspection. The contractor will
deliver to FEMA any requested photograph within 24 hours of the
request.

kk

Training, picture warehousing, camera logistics, purchase
inventory, tracking of photography equipment and transmitting
archived picture data shall be the responsibility of the contractor.

13. To facilitate ALLTECH’s performance under the Prime Agreement, ALLTECH
and Myriad entered into the Subcontract. (A true and correct copy of the Subcontract is annexed
hereto as Exhibit A and incorporated herein.)

14. The Subcontract refers to the Prime Agreement and states that “ALLTECH
retains SUBCONTRACTOR [Myriad] to perform set portions of the SERVICES,” which are
defined as follows in Article 2 of the Subcontract, entitled “Employment of Subcontractor”:

The SERVICES include the provision of qualified staff and
management personnel to support the inspection process, which is
conducted by using handheld computers and the FEMA NEMIS’

ACE II software to record and transmit the data to the FEMA
NEMIS system.

15. Article 3 of the Subcontract, entitled “Scope of Services,” requires that Myriad
render in a satisfactory and proper manner the services set forth in Exhibit A to the Subcontract,
which incorporates the Work Statement from the Prime Agreement. The services Myriad is
required to render under the Subcontract include providing the technology used in the
transmission and storage of inspection photographs (as described in paragraphs 10 through 12

above).

16. Article 3 of the Subcontract further provides that, unless delegated by ALLTECH

to work at another location, Myriad employees “will be located at the Project Office at 600
Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 5 of 11

Pegasus Court, Winchester, VA 22602.”

17. Pursuant to the Subcontract, ALLTECH has used Myriad’s services to transmit
inspection data from the field to FEMA and to store inspection data, including photographs.
ALLTECH’s inspection photographs are also archived on Myriad’s server.

18. | Myriad has no ownership interest in, or any other right to, the inspection data,
including photographs, which ALLTECH is required to provide to FEMA pursuant to the Prime
Agreement.

19. Article 5 of the Subcontract provides that the initial term of the Subcontract was
from May 1, 2007 through September 30, 2007, subject to an award by FEMA of Option Year
Task Orders from October 1, 2007 through September 30, 2008. FEMA awarded ALLTECH an
Option Year Task Order. As a result, the Subcontract remains in effect through September 30,
2008.

20. Since the Subcontract was signed approximately one year ago, ALLTECH has
paid Myriad $544,987 for services provided pursuant to the Subcontract. These amounts include
payment in full to Myriad for the uploading and storage of the inspection photographs which
now reside on Myriad’s server. ALLTECH has thus fully performed under the Subcontract, and
is ready, willing, and able to continue to perform under the Subcontract.

21. Pursuant to Article 9 of the Subcontract, Myriad agreed to indemnify ALLTECH
and hold it harmless from and against any losses, damages, and expenses due to Myriad’s failure
to comply with its obligations under the Subcontract, excluding consequential or incidental

damages.
Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 6 of 11

22. The Subcontract provides that it is governed by the law of the Commonwealth of
Virginia except with respect to conflict of law rules that would require application of the laws of
another jurisdiction.

23. Article 17 of the Subcontract provides that the Subcontract “represents the entire
and integrated agreement between ALLTECH and SUBCONTRACTOR with regard to the
PROJECT and the performance of the SERVICES.” Article 17 of the Subcontract further
provides that it does not affect any other agreements between ALLTECH and Myriad.

24. In or around February 26, 2008, Myriad presented ALLTECH with an
amendment to a different agreement to which Myriad and ALLTECH were also parties, and it
asked ALLTECH to sign the amendment. Among other things, the amendment provided for the
extension of the other agreement for as long as the Prime Agreement was in effect.

25. | ALLTECH was unwilling to agree to the extension contemplated by the
amendment to the other agreement and, on March 25, 2008, it sent the amendment back to
Myriad with the provision concerning the extension crossed out.

26. Three days later, in an apparent effort to pressure ALLTECH into agreeing to an
amendment which was unacceptable — and without regard to Myriad’s obligations under the
Subcontract or the effect of its conduct on ALLTECH’s ability to provide time-sensitive disaster
services — Myriad suddenly and without warning cut off ALLTECH’s access to the server used
to transmit and store inspection data.

27. Under the terms of the Prime Agreement, ALLTECH is required to produce
photographs to FEMA within 24 hours of a request. Since March 28, 2008, FEMA has requested

that ALLTECH provide it with inspection photographs, and ALLTECH has been unable to

Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 7 of 11

comply with FEMA’s requests because, despite ALLTECH’s demands, Myriad has refused to
deliver the photographs.

28. | Myriad is able to control access to the inspection photographs because the
photographs reside on Myriad’s server where they can be located based on identification
numbers that should correspond to FEMA application numbers. The photographs reside on
Myriad’s server pursuant to the terms of the Subcontract — and not because Myriad has any
ownership or other interest in the photographs.

29. In addition to cutting off ALLTECH’s access to inspection photographs
previously taken by ALLTECH’s field inspectors, Myriad has interfered with emergency
inspections since March 28, 2008 by cutting off access to Myriad’s system and preventing
ALLTECH’s field inspectors from using the system to transmit the inspection data they collect
on their handheld computers. Following Myriad’s breach of the Subcontract, to prevent an
interruption in ALLTECH’s ability to document emergency inspections and irreparable harm to
ALLTECH’s reputation as a reliable provider of inspection services, ALLTECH has had to find
alternative ways to transmit and store inspection data. To this end, ALLTECH has expended
considerable resources. ALLTECH was forced to send people to meet directly with inspectors to
retrieve inspection data. Moreover, ALLTECH has been compelled to undertake the
development of new systems that permits it to comply with the business rules and objectives set
forth in its contract with FEMA. ALLTECH has not and cannot create a system whereby it can
access the photographs and data that Myriad continues to wrongfully withhold from ALLTECH.

30. Even though ALLTECH has requested on multiple occasions since March 28,
2008 that Myriad comply with its obligations under the Subcontract, including the conveying of

inspection photographs to ALLTECH that FEMA has requested, so that ALLTECH can deliver
Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 8 of 11

them to FEMA, Myriad has failed and refused to provide any photographs to ALLTECH.
Instead, in a bad faith attempt to justify its breach of the Subcontract, deflect attention from its
own wrongful conduct, and obtain additional leverage in its effort to force ALLTECH to accede
to its demand that ALLTECH amend a different agreement, Myriad filed a baseless lawsuit
against ALLTECH in Texas relating solely to the other agreement.

FIRST CLAIM FOR RELIEF
(Specific Performance and Mandatory Injunction)

31. ALLTECH repeats and realleges the allegations of paragraphs | through 30 above
as if fully set forth herein.

32. Myriad is required under the Subcontract to support the inspection process by,
among other things, transmitting inspection photographs to ALLTECH so that ALLTECH can
make timely production of the photographs to FEMA.

33. The inspection photographs that are in Myriad’s possession are unique and are not
otherwise available to either ALLTECH or FEMA.

34. By refusing to produce the photographs to ALLTECH, Myriad has prevented
ALLTECH from fulfilling its obligations to FEMA under the Master Agreement, and has also
impeded FEMA’s ability to provide relief to disaster victims.

35. ALLTECH has no adequate remedy at law.

36. By reason of the foregoing, Myriad should be ordered to specifically perform
under the Subcontract and directed to provide all inspection photographs to ALLTECH.

SECOND CLAIM FOR RELIEF
(Breach of Contract)

37. ALLTECH repeats and realleges the allegations of paragraphs 1 through 36 above

as if fully set forth herein.
Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 9 of 11

38. The Subcontract is a valid and enforceable agreement between ALLTECH and
Myriad.

39. ALLTECH has fully performed under the Subcontract.

40. By cutting off ALLTECH’s access to inspection data and the system used to
collect and transmit inspection data on March 28, 2008 and refusing to give ALLTECH access
since that time, Myriad breached the Subcontract.

41. Pursuant to Article 9 of the Subcontract, Myriad is obligated to hold ALLTECH
harmless from and against any losses, damages, and expenses due to Myriad’s breach of the
Subcontract.

42. | ALLTECH has incurred substantial expenses as a result of Myriad’s breach of the
Subcontract, including, but not limited to, mitigation costs and attorneys’ fees and expenses.
Because the damages that Myriad’s breach of the Subcontract caused ALLTECH is continuing,
they cannot yet be quantified with precision, but exceed $75,000.00, exclusive of interest and
costs.

THIRD CLAIM FOR RELIEF
(Conversion)

43. ALLTECH repeats and realleges the allegations of paragraphs | through 42 above
as if fully set forth herein.

44, The inspection photographs are not the property of Myriad.

45. Myriad has refused to deliver the inspection photographs to ALLTECH despite
ALLTECH’s repeated demands therefor.

46. By reason of the foregoing, ALLTECH has converted the inspection photographs
and is liable for damages in an amount to be determined at trial in excess of $75,000.00.

47. WHEREFORE, plaintiff demands judgment as follows:

Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 10 of 11

(1) on its first claim for relief, judgment compelling and enjoining defendant to fulfill
its obligations under the Subcontract and to deliver to plaintiff all inspection data, including
inspection photographs, currently in defendant’s possession, custody, or control;

(2) on its second claim for relief, awarding plaintiff damages in an amount to be
determined at trial, including attorneys’ fees and expense, pursuant to defendant’s obligation to
indemnify plaintiff for losses caused by defendant’s breach of the Subcontract, together with
interest thereon;

(3) on its third claim for relief, awarding plaintiff damages in an amount to be
determined at trial based on defendant’s conversion of the inspection photographs, together with
interest thereon; and

(4) and the costs and disbursements of this action, and such other and further relief as
the Court deems proper.

Dated: May 16, 2008

Respectfully submitted,

Joseph J/Aronica (VA Bar No. 02548)
DU. MORRIS, LLP

505 9” Street, N.W., Suite 1000
Washington, D.C. 20006

Phone: (202) 776-7800

Fax: (202) 776-7801

jjaronica(@duanemorris.com
Counsel for Alltech, Inc.

-10-
Case 1:09-cv-00051-JRN Document 39-2 Filed 01/26/09 Page 11 of 11

JS 44 (Rev. 11/04)

the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor su
by loca! rules of court. This form, approved by the Judicial Conference of the United §

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

plement the filing and service of pleadings or other papers as required by law, except as provided

tates in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

I. (a) PLAINTIFFS

Alltech, Inc.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

Frederick

(c) Attorney’s (Firm Name, Address, and Telephone Number)

Joseph J. Aronica, Duane Morris LLP, 505 9th St., NW, Suite 1000,

Washington, DC 20004, (202) 776.7800

Attomeys (If Known)

DEFENDANTS
Myriad Development, Inc.

County of Residence of First Listed Defendant

Frederick

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

I. BASIS OF JURISDICTION

(Place an “X” in One Box Only)

(For Diversity Cases Only)

IM. CITIZENSHIP OF PRINCIPAL PARTIES Place an “X” in One Box for Plaintiff

and One Box for Defendant)

O1 U.S. Government 1) 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State @ i 1 1 _ Incorporated or Principal Place B64 04
of Business In This State
2 US. Government 634 Diversity Citizen of Another State 2 2 Incorporated and Principal Place Os M5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a 3 © 3° Foreign Nation Oe O86
Foreign Country
IV. NATURE OF SUIT (Place an "Xx" in One Box Only)

[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES]
C1 110 Insurance PERSONAL INJURY PERSONAL INJURY [C1 610 Agriculture CO 422 Appeal 28 USC 158 1 400 State Reapportionment
C120 Marine 0 310 Airplane 1 362 Personal Injury - 1 620 Other Food & Drug C1 423 Withdrawal OC 410 Antitrust
C1 130 Miller Act C1 315 Airplane Product Med. Malpractice (1 625 Drug Related Seizure 28 USC 157 C1 430 Banks and Banking
1 140 Negotiable Instrument Liability 0) 365 Personal Injury - of Property 21 USC 881 O 450 Commerce
[7 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability 630 Liquor Laws P RI C] 460 Deportation

& Enforcement of Judgment Slander 1 368 Asbestos Personal | 640R.R. & Truck CO 820 Copyrights C1 470 Racketeer Influenced and
0 151 Medicare Act (1 330 Federal Employers’ Injury Product 1 650 Airline Regs. C7 830 Patent Corrupt Organizations
17 152 Recovery of Defaulted Liability Liability 1 660 Occupational C7 840 Trademark C1 480 Consumer Credit
Student Loans (1 340 Marine PERSONAL PROPERTY Safety/Health CJ 490 Cable/Sat TV
(Excl. Veterans) 1 345 Marine Product ®&] 370 Other Fraud 690 Other 0 810 Selective Service
11 153 Recovery of Overpayment Liability O 371 TmthinLending = | A TY C1 850 Securities/Commodities/
of Veteran’s Benefits 1 350 Motor Vehicle C1 380 Other Personal 1 710 Fair Labor Standards 0 861 HIA (1395¢f) Exchange
1 160 Stockholders’ Suits © 355 Motor Vehicle Property Damage Act 862 Black Lung (923) C875 Customer Challenge
6 190 Other Contract Product Liability C1 385 Property Damage O 720 Labor/Mgmt. Relations | 863 DIWC/DIWW (405(g)) 12 USC 3410
(1 195 Contract Product Liability | 360 Other Personal Product Liability 0 730 Labor/Mgmt.Reporting |] 864 SSID Title XVI C7 890 Other Statutory Actions
01 196 Franchise Injury & Disclosure Act C7 865 RSI (405(g)) C891 Agricultural Acts

|____ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 740 Railway Labor Act FEDERAL TAX SUITS (1 892 Economic Stabilization Act
(3 210 Land Condemnation 441 Voting C1 510 Motions to Vacate [C1 790 Other Labor Litigation |C) 870 Taxes (U.S. Plaintiff ( 893 Environmental Matters
01 220 Foreclosure 1 442 Employment Sentence O 791 Empl. Ret. Inc. or Defendant) C1 894 Energy Allocation Act
J 230 Rent Lease & Ejectment (1) 443 Housing/ Habeas Corpus: Security Act C1 871 IRS—Third Party (1 895 Freedom of Information
J 240 Torts to Land Accommodations 1 530 General 26 USC 7609 Act
1 245 Tort Product Liability 1 444 Welfare 535 Death Penalty (1 900Appeal of Fee Determination
(J 290 All Other Real Property (1 445 Amer. w/Disabilities - |] 540 Mandamus & Other Under Equal Access

Employment 01 550 Civil Rights to Justice

(1 446 Amer. w/Disabilities - |] 555 Prison Condition 1 950 Constitutionality of
Other State Statutes

J 440 Other Civil Rights

“XP 5 Appeal to District
V. ORIGIN (Place an “X” in One Box Only) oa ds Transferred from 6 a q7 Tudge from
a1 Original 2 Removed from 3 Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION

SHepaues: ge" Sipjute undey gpich you are filing (De not cite jurisdictional statutes unless diversity):

Se
Equitable Claims:

Use: .
Conversion; Breach of Contract

VII. REQUESTED IN
COMPLAINT:

CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P. 23

DEMAND $

In excess of $75,000 plus

CHECK YES only if demanded in complaint:

JURY DEMAND:

© Yes ONo

Vill. RELATED CASE(S)

IF ANY

(See instructions):

CGuitcble relief Cinghuds'ng preliminary vay eaten )

JUDGE Sparks in the Western District of Texas DOCKET NUMBER 1:08-cv-00253-SS

DATE
5/16/08

= 7
SIGNATU F ATYPRNIA OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

SA

S.08CV4S”

MAG. JUDGE

